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 8                          IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT COURT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,
12                         Respondent,                    Cr. No. S-10-0055 KJM
13          vs.
14   JOSE SERRANO-VILLALOBOS,
15                         Movant.                        ORDER
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18                 On December 20, 2013, movant filed a motion to vacate, set aside, or correct his
19   sentence under 28 U.S.C. § 2255. ECF No. 137. On May 12, 2014, the court issued an order
20   denying the motion, but giving movant leave to amend within thirty days of the date of the
21   order. Movant has not responded to the court’s order.
22                 Accordingly, the motion to set aside Jose Serrano-Villalobos’s sentence is
23   dismissed; the Clerk is directed to close the companion civil case, 2:13-CV-02673 KJM.
24                 IT IS SO ORDERED.
25   DATED: July 21, 2014.
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                                                        UNITED STATES DISTRICT JUDGE
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